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'Wildfire smoke back into Lane     6:15-cv-01517-AA
                               County                               Document
                                      overnight': Air quality alert in                381-1
                                                                       effect until Sunday      Filed
                                                                                           | KVAL       10/15/18      Page 1 of 5




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   'Wildfire smoke back into Lane County overnight': Air quality alert in

   effect until Sunday



   by KVAL |




   "Drainage flows from the east have brought the wildfire smoke back into Lane County overnight," the Lane Regional Air Protection Agency said
   in a statement Friday. "Air quality monitors in Eugene are seeing spikes into the 'Unhealthy for Sensitive Groups' levels Friday morning." (SBG)




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                                                                                           | KVAL       10/15/18      Page 2 of 5

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   EUGENE, Ore. - It's ba-ack!


   "Drainage flows from the east have brought the wildfire smoke back into Lane
   County overnight," the Lane Regional Air Protection Agency said in a statement
   Friday. "Air quality monitors in Eugene are seeing spikes into the 'Unhealthy for
   Sensitive Groups' levels Friday morning."



   The agency issued an air quality advisory for wildfire smoke, in effect through 6
   p.m. Sunday.


   As the day went on, pollution levels spiked.



   As a result, the forecast for air quality hit the red zone: "Unhealthy" for all people.



   RELATED | CDC: Smoke from wildfires can 'get into deep part of your lungs
   and even into your blood'


   A change to cooler, wetter fall-like weather is in the forecast for Sunday night

                                                                                                                          P00000119101
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                                                                                           | KVAL       10/15/18      Page 3 of 5

   through at least Wednesday next week.


   “Residents who are sensitive to smoke are advised to use caution when
   participating in outdoor activities or to wait out the smoke for a couple days,” said
   Jo Niehaus, spokesperson for the agency. “We are expecting more smoke
   impacts until Sunday when rain is predicted.”


   The problematic pollutant in wildfire smoke is "PM 2.5" - shorthand for particulate
   matter of 2.5 micrometers or less.



   The EPA says "numerous scientific studies have linked particle pollution
   exposure to a variety of problems," including:


          premature death in people with heart or lung disease
          nonfatal heart attacks
          irregular heartbeat
          aggravated asthma
          decreased lung function
          increased respiratory symptoms, such as irritation of the airways,
          coughing or difficulty breathing.

   The EPA says the smoke is affecting you if you experience "burning eyes, a
   runny nose, cough, phlegm, wheezing and difficulty breathing."


   RELATED | 'Dust masks aren't enough!' What you need to know about
   health risks from wildfire smoke


   If you experience symptoms, get out of the smoke, EPA says.


   DEVELOPING STORY | This story will be updated


   AIR QUALITY | Current Forecasts for Lane County
                                                                                                                          P00000119102
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                                                                                           | KVAL       10/15/18      Page 4 of 5




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                                                                                           | KVAL       10/15/18      Page 5 of 5




     Person hit by train near Lowell                  Local shelter assists                              Coca-Cola driver gets caught        First lo
     taken to hospital by helicopter                  Springfield woman                                  hauling 'moonshine' across          Spring
                                                      overwhelmed with 80 Bengal                         Deception Pass Bridge               area re
                                                      cats




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